                   Case 2:23-cr-00038-SM-MBN Document 1 Filed 02/20/23 Page 1 of 4
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District
                                              __________ Districtofof
                                                                   Louisiana
                                                                      __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No.
                                                                 )                 23-mj-14
                     LARYAN REED                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               February 17, 2023              in the county
                                                                               parish of               Orleans           in the
     Eastern           District of        Louisiana          , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. §§ 922(g)(1), 924(a)(8)            felon in possession of a firearm




         This criminal complaint is based on these facts:

see attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                            VTimothy Jones
                                                                                            Complainant’s signature
                                                                                      Task Force Officer Timothy Jones
                                                                            Bureau of Alcohol, Tobacco, Firearms, and Explosives
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             2/20/23
                2/15/05                                                                        Judge’s signature

City and state:                  New Orleans, Louisiana                   Honorable Michael B. North, U.S. Magistrate Judge
                                                                                             Printed name and title
     Case 2:23-cr-00038-SM-MBN Document 1 Filed 02/20/23 Page 2 of 4




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                     *     MAG. NO. 23-mj-14

v.                                           *     DUTY MAGISTRATE

LARYN REED                                   *

                                     *       *       *

              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

     I, Timothy Jones, being duly sworn, depose and state as follows:

 1. I am a Task Force Officer (TFO) with the United States Department of Justice, Bureau of

     Alcohol, Tobacco, Firearms and Explosives (ATF), and have been since August 2022. I

     am currently assigned to the New Orleans Field Office, in New Orleans, Louisiana. Prior

     to my assignment with ATF, I was a detective with New Orleans Police Department where

     I investigated violent crimes. I have been employed with the NOPD since 2013. I am

     responsible for investigating and enforcing violations of Federal and State law, including

     violations of Federal firearms laws and Title 18 offenses; to include matters related to

     violent crimes. During the course of my law enforcement career, I have participated in

     several complex investigations, specifically in the matters of violent crime. I regularly

     work with a team of agents and task force officers who are focused on investigating crimes

     related to violence and drug distribution crimes.

 2. I graduated from the New Orleans Police Department, Municipal Train Academy in 2013.

     I received a Bachelor of Arts (BA) in psychology from Temple University in Philadelphia,

     PA, in 2012. I received a Masters of Profession Studies (MPS) from Tulane University in

     Homeland Security in 2016.
    Case 2:23-cr-00038-SM-MBN Document 1 Filed 02/20/23 Page 3 of 4




                              PURPOSE OF AFFIDAVIT

3. This affidavit is made in support of a criminal complaint against Laryan Reed for violation

   of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8), possession of a firearm

   by a convicted felon. Since this affidavit is being submitted for this limited purpose, I have

   not included each and every fact known to me concerning this investigation. I have set

   forth facts that I believe are essential to establish the necessary foundation for obtaining a

   criminal complaint. I make this affidavit based upon my personal knowledge derived from

   my participation in this investigation and upon information relayed to me from members

   of New Orleans Police Department (NOPD).

                                    PROBABLE CAUSE

4. On February 17th, 2023, at approximately 21:15, the New Orleans Police Department’s

   (“NOPD”) Promenade Unit was working foot patrol in the 400 block Bourbon Street, New

   Orleans, LA. While patrolling, officers observed a subject, later identified as Laryan Reed

   (“REED”) walking in the 400 block of Bourbon Street. Officers observed REED adjust an

   object in his waistband shaped like a firearm. When officers contacted REED, REED

   immediately began to fight with officers striking two of the officers with a closed fist, one

   of which received a significant injury to the face which required hospitalization.

5. Officers were eventually able to detain REED and conducted a search of his person and

   located a Glock model 17, 9mm handgun serial# AGNF392 was located in his waistband.

   REED was then transported to the NOPD 8th District Station for booking.

6. A National Crime Information Center (“NCIC”) search of REED’s criminal history

   revealed REED has a 2017 conviction for carjacking, a violation of LA R.S. §14:64.2, a

   felony offense, under Case Number 15-06568, in the 34th Judicial District Court for the


                                             2
        Case 2:23-cr-00038-SM-MBN Document 1 Filed 02/20/23 Page 4 of 4




       Parish of St. Bernard. REED received a sentence of 5 years in the Louisiana Department

       of Corrections.

   7. A NCIC check of the firearm seized from Mr. Reed, a Glock model 17, 9mm handgun

       serial# AGNF392 was found to be stolen from Orleans Parish under NOPD incident

       number I-29580-22. It should be noted, the seized Glock handgun was manufactured in

       the United States and imported from Smyrna, GA. Accordingly, the weapon necessarily

       moved in and affected interstate commerce before being seized from REED. This weapon

       also fits the relevant federal definition of a firearm.

   8. Based on the foregoing, TFO Jones submits there is probable cause to believe that REED

       violated Title 18, United States Code, Section 922(g)(1) and 924(a)(8), possession of a

       firearm by a convicted felon.

                                                       Respectfully submitted,


                                                       s/Timothy Jones
                                                       Task Force Officer Timothy Jones
                                                       Bureau of Alcohol, Tobacco, and Firearms

Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial officer
has on this date considered the information communicated by reliable electronic means in
considering whether a complaint, warrant, or summons will issue. In doing so, I have placed the
affiant under oath, and the affiant has confirmed that the signatures on the complaint, warrant, or
summons and affidavit are those of the affiant, that the document received by me is a correct and
complete copy of the document submitted by the affiant, and that the information contained in the
complaint, warrant, or summons and affidavit is true and correct to the best of the affiant’s
knowledge.

Subscribed to and sworn before me,
      20th day of February, 2023,
this ______
New Orleans, Louisiana.

____________________________________
Honorable Michael B. North
United States Magistrate Judge
